                  Case 3:19-cv-05798-RBL Document 23 Filed 11/19/19 Page 1 of 3




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                                                           HONORABLE RONALD B. LEIGHTON
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                                 UNITED STATES DISTRICT COURT
6                          FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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8    DOUGLAS FERRIE,                                    Case No. 3:19-cv-05798-RBL
9                    Plaintiff,                         CORPORATE DISCLOSURE
                                                        STATEMENT OF HORIZON TRUST
10           v.                                         COMPANY
11   WOODFORD RESEARCH LLC, et al.,

12                   Defendant.

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             This disclosure statement is filed pursuant to LCR 7.1. Defendant Horizon Trust
16
     Company was incorporated in the State of New Mexico on July 19, 2011. Horizon Trust
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     Company has no parent corporation, nor does any publicly held corporation own more than 10%
18
     of its stock.
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     CORPORATE DISCLOSURE STATEMENT OF HORIZON                              WALTERKIPLING PLLC
     TRUST COMPANY - 1                                                        5608 17TH AVE NW #735
     (CASE NO. 3:19-CV-05798-RBL)                                           SEATTLE, WASHINGTON 98107
                                                                             telephone (206) 545-0347
            Case 3:19-cv-05798-RBL Document 23 Filed 11/19/19 Page 2 of 3




1         DATED this 19th day of November, 2019.

2                                          s/ Marjorie A. Walter
3                                          Michael E. Kipling, WSBA #7677
                                           Marjorie A. Walter, WSBA #40078
4                                          WALTERKIPLING PLLC
                                           5608 17th Ave NW #735
5                                          Seattle, WA 98107
                                           (206) 545-0346
6                                          (206) 545-0347
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8
                                           Counsel for Defendants Greg Herlean and
9                                          Horizon Trust Company
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     CORPORATE DISCLOSURE STATEMENT OF HORIZON                     WALTERKIPLING PLLC
     TRUST COMPANY - 2                                               5608 17TH AVE NW #735
     (CASE NO. 3:19-CV-05798-RBL)                                  SEATTLE, WASHINGTON 98107
                                                                    telephone (206) 545-0347
               Case 3:19-cv-05798-RBL Document 23 Filed 11/19/19 Page 3 of 3




1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on the 19th day of November, 2019, I electronically filed the

3    foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

4    such filing to all counsel of record.

5

6           DATED this 19th day of November, 2019.

7
                                                  s/ Marjorie A. Walter
8                                                 Michael E. Kipling, WSBA #7677
                                                  WALTERKIPLING PLLC
9                                                 5608 17th Ave NW #735
10                                                Seattle, WA 98107
                                                  (206) 545-0347
11                                                marjorie@walterkipling.com

12                                                Counsel for Defendants Greg Herlean and
                                                  Horizon Trust Company
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     CORPORATE DISCLOSURE STATEMENT OF HORIZON                                WALTERKIPLING PLLC
     TRUST COMPANY - 3                                                           5608 17TH AVE NW #735
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